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 1   Michael J. Avenatti (Pro Se)
 2   H. Dean Steward, SBN 85317
 3   17 Corporate Plaza, Suite 254
     Newport Beach, California 92660
 4   Tel (949) 481-4900
     Fax (949) 706-9994
 5
 6   Advisory Counsel for Defendant
     MICHAEL JOHN AVENATTI
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 8
                              UNITED STATES DISTRICT COURT
 9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
12               Plaintiff,                        DEFENDANT’S OFFER OF PROOF
                        v.                         REGARDING WITHDRAWAL OF FEES
13                                                 AND COSTS
14   MICHAEL JOHN AVENATTI,
15               Defendant.
16
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18         In furtherance of the objections raised by the defendant earlier this evening
19   relating to some of the testimony elicited by the government from Ms. Regnier, the
20   defendant respectfully directs the Court to California Rule of Professional Conduct
21   1.15(c)(2), which provides in part that funds representing fees and costs “must be
22   withdrawn at the earliest reasonable time after the lawyers or law firm’s interest in
23   that portion becomes fixed” (emphasis added). Accordingly, it is improper and
24   prejudicial for the government to suggest otherwise to the jury.

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     Case 8:19-cr-00061-JVS Document 603 Filed 07/27/21 Page 2 of 3 Page ID #:10931




 1    Dated: July 27, 2021                  Respectfully submitted,
 2
                                           /s/ Michael J. Avenatti
 3
                                           Defendant
 4                                         MICHAEL JOHN AVENATTI
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 1
                                  CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254 in Newport Beach, California
 4
 5   92660. I am not a party to the above-entitled action. I have caused, on July 27, 2021,

 6   service of the:
 7
      DEFENDANT’S OFFER OF PROOF REGARDING WITHDRAWAL OF FEES AND
 8                                COSTS
 9   on the following party, using the Court’s ECF system:
10
     AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
12   I declare under penalty of perjury that the foregoing is true and correct.
13   Executed on July 27, 2021
14
15                                           /s/ H. Dean Steward

16                                           H. Dean Steward

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